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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 In Re:                                           Case No. 21-04479-RLM-13

 Sheryl Lynn Hawver                               Chapter 13

 Debtor.                                          Judge Robyn L. Moberly

                                  NOTICE OF APPEARANCE

          Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.

Bankruptcy Court, Southern District of Indiana, and enters an appearance on behalf of U.S. Bank

National Association, not in its individual capacity but solely as trustee for RMTP Trust, Series

2021 BKM-TT, in the above captioned proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
Case 21-04479-RLM-13         Doc 27     Filed 11/12/21     EOD 11/12/21 13:05:04         Pg 2 of 2




                                CERTIFICATE OF SERVICE

I certify that on November 12, 2021, a copy of the foregoing Notice was filed electronically.
Notice of this filing will be sent to the following party/parties through the Court’s ECF System.
Party/parties may access this filing through the Court’s system:

       Jess M. Smith, Debtor’s Counsel
       bcrowe@tomscottlaw.com

       Ann M. DeLaney, Trustee
       ecfdelaney@trustee13.com

       Office of the U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

I further certify that on November 12, 2021, a copy of the foregoing Notice was mailed by first-
class U.S. Mail, postage prepaid and properly addressed to the following:

       Sheryl Lynn Hawver, Debtor
       1185 Porchester Lane
       Greenwood, IN 46143

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Attorney for Creditor
